                                                                                    DOC NO
                                                                                   -~,n/F/LED
                   IN THE UNITED ST ATES DISTRICT COURT                  'l    19 AR 27 A 10: 3
                  FOR THE WESTERN DISTRICT OF WISCONSIN
                                                                               , ETEr{ C, t L
                                                                              LE,, tlS n'"
                                                                                   ".,'D [, .: -   I

UNITED STATES OF AMERICA                                  INFORMATION

             V.                                 Case   NJ. 9     CR                   44 WMC
                                                         18 u.s.c.   § 1343
PATRICK O'CONNOR,                                        18 U.S.C.   § 1956(a)(l)(B)(i)
                                                         18 U.S.C.   § 981(a)(l)(C)
                          Defendant.                     18 u.s.c.   § 982




THE UNITED STATES ATTORNEY CHARGES:

                                     COUNTl

                                    Background

      1.     At times material to this information:

             a.    Defendant PATRICK O'CONNOR was a licensed real estate

agent and a real estate developer in Waunakee, Wisconsin.

             b.    On October 1, 2015, O'CONNOR opened a business chec~ing

account (account number :XX:9201) at Associated Bank in the name of "Madison

Financial Services LLC." O'CONNOR and his wife were the only authorized signers

on the account.

             c.    Associated Bank used the Federal Reserve Bank to process all

domestic wire transfers. There was not a Federal Reserve Bank in Wisconsin.
              d.    Madison Financial Services LLC was not registered with the

Financial Industry Regulation Authority, Inc. (FINRA), or the Securities and

Exchange Commission (SEC).

                                 Scheme to Defraud

       2.    During the period beginning in or about October of 2011, and

continuing to in or about June of 2018, in the Western District of Wisconsin and

elsewhere, the defendant,

                               PATRICK O'CONNOR,

knowingly, and with the intent to defraud, devised and participated in a scheme to

defraud investors, and to obtain money by means of materially false and fraudulent

pretenses, representations, omissions, and promises.

      3.     It was part of the scheme to defraud that O'CONNOR, beginning in

2011, started soliciting individuals to invest in "Madison Financial Services LLC." As

part of his solicitations, O'CONNOR made various material misrepresentations to

investors regarding Madison Financial Services. For example, O'CONNOR

represented that Madison Financial Services would invest all of the funds on the

investors' behalf into a TradeStation online brokerage account. O'CONNOR

represented that he would use the TradeStation account to actively trade purchased

securities and he projected an average annual return on the investment of 2 % a

month, or 24% annually. In fact, O'CONNOR used a large portion of the funds

provided to him for investment in Madison Financial Services for his own personal


                                          2
expenses, expenses related to his real estate development business, or to repay other

investors. In addition, of the funds that O'CONNOR deposited into his TradeStation

accounts and actively traded, he either lost or withdrew the vast majority of the

funds and rarely generated any profit.

       4.     It was further part of the scheme to defraud that O'CONNOR used

investment funds for Madison Financial Services to pay expenses related to his real

estate development business and his personal lifestyle, including but not limited to:

              a.     residence at 805 Sumise Bay, Waunakee, WI;

              b.     real property located at W10310 Old CS Rd, Poynette, WI;

              c.     real property described as "Grand Legacy at Lake Wisconsin,"
                     Poynette, WI;

              d.     2015 Bennington Boat model: 2550GBR with a VIN:
                     ETWA6617I415;

              e.     2011 Caterpillar bulldozer model-D4KLGP, Serial No. RRR00424.


       5.     It was further part of the scheme to defraud that O'CONNOR provided

investors with purported account statements from their investments with Madison

Financial Services. The account statements were fictitious and showed the investors'

supposed year-to-date profits and their supposed current portfolio balance. By

sending the account statements, O'CONNOR intended to lull investors into believing

that he was investing their money in a legitimate investment. O'CONNOR knew

that the account statements were fictitious.



                                           3
       6.     It was further p~rt of the scheme to defraud that O'CONNOR made

payments to some investors using funds provided to him by other investors.

O'CONNOR told these investors that the payments were income earned from stock

trading, while in fact O'CONNOR knew his stock trades routinely lost money.

       7.     It was further part of the scheme to defraud that O'CONNOR failed to

inform his investors that he lied to them about the true nature of their investment.

O' CONNOR failed to tell the investors that he misappropriated their funds to pay for

his personal expenses, real estate development expenses, and to provide returns to

other investors.

       8.     It was further part of the scheme to defraud that O'CONNOR received

$12,442,318.63 in investor funds and used the vast majority of those funds for his

own purposes and did not invest the vast majority of the funds on behalf of the

investors.

       9.     On or about November 16, 2017, in the Western District of Wisconsin

and elsewhere, the defendant,

                                PATRICK O'CONNOR,

for the purpose of executing the scheme, knowingly caused to be transmitted, by

means of wire communications in interstate commerce, certain signals and sounds,

namely: a bank wire transfer of $200,000 from the account of T.W. at T.D. Bank in

New York to the O'CONNOR's business checking account (account number XX9201)




                                           4
at Associated Bank in the name of "Madison Financial Services LLC" in Waunakee,

Wisconsin.

                  (In violation of Title 18, United States Code, Section 1343).

                                           COUNT2

       1.        Paragraphs 1-9 of Count 1 are incorporated here.

       2.        On or about January 28, 2014, in the Western District of Wisconsin and

elsewhere, the defendant,

                                   PATRICK O'CONNOR,

knowingly conducted a financial transaction affecting interstate commerce, namely,

the negotiation of cashier's check number 62766450, drawn on O'CONNOR's BMO

Harris personal checking account ending in 0408, in the amount of $200,000, which

involved the proceeds of a specified unlawful activity, that is wire fraud in violation

of Title 18 United States Code, Section 1343, knowing that the transaction was

designed in whole or in part to conceal and disguise the nature, ownership, control,

and source of the proceeds of the specified unlawful activity, and that while

conducting and attempting to conduct such financial transaction knew that the

property involved in the financial transaction represented the proceeds of some form

of unlawful activity.

            (In violation of Title 18, United States Code, Section 1956(a)(l)(B)(i)).

                                FORFEITURE ALLEGATION

      1.         The allegations contained in Counts 1-2 are realleged and


                                               5
incorporated here for the purpose of alleging forfeitures pursuant to Title 18,

United States Code, Sections 981(a)(l)(C), 982 and Title 28, United States Code,

Section 2461(c).

       2.     Upon conviction of the offense in Count 1, the defendant, PATRICK

O'CONNOR, shall forfeit to the United States of America, pursuant to Title 18,

United States Code, Sections 981(a)(l)(C) and Title 28, United States Code, Section

2461(c), any property, real or personal, which constitutes or is derived from proceeds

traceable to the offenses. The property to be forfeited includes, but is not limited to,

the following:

              a.     Money Judgment - a sum of money equal to $9,686,848.00 in

                     United States currency, representing the amount of proceeds

                     obtained as a result of wire fraud;

              b.     the real property and improvements located at 805 Sunrise Bay,

                     Waunakee, Wisconsin, Tax Parcel ID Number 191-0809-061-

                     0065-1;

              c.     the real property and improvements located at W10310 Old CS

                     Road, Poynette, Wisconsin, Tax Parcel ID: 11032.Al 11010;

              d.     $285,146.31 in funds previously seized from TradeStation

                     Securities, Inc. account number XXXX4740;

              e.     $50,000 in funds previously seized from TradeStation Securities,

                     Inc. account number XXXX123P;


                                            6
              f.     $11,173.06 in funds previously seized from BMO Harris bank

                     account XXXXXX0408;

              g.     2015 Bennington Boat model: 2550GBR with a VIN:

                     ETWA6617I415.

              h.     2011 Caterpillar bulldozer model-D4KLGP, Serial No. RRR00424.

       3.     If any of the property described above, as a result of any act or

omission of the defendant:

              a.     cannot be located upon the exercise of due diligence;

              b.     has been transferred or sold to, or deposited with, a third party;

              c.     has been placed beyond the jurisdiction of the court;

              d.     has been substantially diminished in value; or

              e.     has been commingled with other property which cannot be

                     divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 18,

United States Code, Section 982(b)(1) and Title 28, United States Code, Section

2461(c).



Date                                               SCOTT C. BLADER
                                                   United States Attorney




                                           7
